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		OSCN Found Document:RE REINSTATEMENT OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE REINSTATEMENT OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2020 OK 41Decided: 05/22/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 41, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



RE: Reinstatement of Credentials of Registered Courtroom Interpreters



ORDER

The Oklahoma Board of Examiners of Certified Courtroom Interpreters recommended to the Supreme Court of Oklahoma that the credential of the following interpreters:

Ana Arcivar
Lourdes Felix-Curet
Neryvete Reyes

be reinstated as they have complied with the continuing education requirements for 2019 and annual certificate renewal requirements for 2020 and all applicable fees have been paid.

IT IS HEREBY ORDERED pursuant to 20 O.S., Chapter 23, App. 1, Rules 18 and 20, the credential of the named interpreters be reinstated from the suspension earlier imposed by this Court.

DONE BY ORDER OF THE SUPREME COURT this 22nd day of May, 2020.


/S/CHIEF JUSTICE







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